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                         IN THE UNITED STATES DISTRICT COURT FOR
                             THE MIDDLE DISTRICT OF ALABAMA
                                    NORTHERN DIVISION

THE COLONIAL BANCGROUP, INC., and
KEVIN O’HALLORAN,

      Plaintiff,

v.                                                              Case No. 2:11-cv-00746-WKW
                                                                LEAD CASE
PRICEWATERHOUSECOOPERS LLP and
CROWE HORWATH LLP,

     Defendants.
______________________________

FEDERAL DEPOSIT INSURANCE                                       Case No. 2:12-cv-00957-WKW
CORPORATION AS RECEIVER FOR
COLONIAL BANK,

     Plaintiff,

v.

PRICEWATERHOUSECOOPERS LLP and
CROWE HORWATH LLP,

     Defendants.


     PRICEWATERHOUSECOOPERS LLP’S REQUEST FOR ORAL ARGUMENT ON THE
          FDIC’S MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS

        PricewaterhouseCoopers LLP (“PwC”) respectfully requests oral argument on the Motion to

Compel the Production of Documents (“Motion”) filed by the Federal Deposit Insurance Corporation as

Receiver for Colonial Bank (“FDIC”).

        The FDIC’s Motion asks the Court to compel PwC to produce documents that a federal statute

prohibits from being disclosed in civil litigation in state or federal court. The Motion asks that PwC be

ordered to produce documents that are further protected from disclosure by privileges held by its audit

clients that are not parties to or involved in this lawsuit in any way, and are irrelevant to this lawsuit. For

these reasons, set forth more fully in PwC’s Response in Opposition, PwC believes oral argument would
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be helpful to the Court, and PwC respectfully requests that Magistrate Judge Moorer set a hearing for oral

argument on the Motion.

Respectfully submitted, this 10th day of September, 2015.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 10, 2015, a true and exact copy of the foregoing was
electronically filed with the Clerk of the Court using the CM/ECF system, which will
automatically send notification of such filing and make available the same to all counsel of
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